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4
     Attorney for Amicus Curiae Blue Eagle Coalition,
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8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
     GAVIN NEWSOM, In his official capacity as   )      Case No: 3:25-cv-04870-CRB
12   the Governor of the State of California;    )
     STATE OF CALIFORNIA,                        )      DECLARATION OF ANDREW WATTERS
13                                               )      IN SUPPORT OF EX PARTE
                Plaintiffs,                      )      APPLICATION FOR LEAVE TO FILE
14
                                                 )      AMICUS BRIEF
15          v.                                   )
                                                 )      Date: June 12, 2025
16                                                      Time: 1:30 p.m.
     DONALD TRUMP, In his official capacity as )
     the President of the United States; PETE    )      Place: Zoom
17
     HEGSETH, In his official capacity as        )
18   Secretary of the Department of Defense; US  )      The Honorable Charles Breyer
     DEPARTMENT OF DEFENSE,                      )      Senior District Judge
19                                               )
                Defendants.                      )
20
                                                 )
21   BLUE EAGLE COALITION, an                    )
     unincorporated association,                 )
22                                               )
     Amicus Curiae.                              )
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                                                  -1-           DECLARATION OF ANDREW WATTERS
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1    1. I am over the age of eighteen years and have personal knowledge of the matters stated herein.
2      If called as a witness, I would competently attest to same.
3    2. I am an attorney at law with my own law firm of five attorneys and eight legal professionals
4      based in Redwood City, California. I was licensed in California and in this Court in late 2005.
5      I have been in practice for close to 20 years, both at other law firms and with my own law
6      firm, and I consider myself an expert civil trial attorney with a family law practice, as well.
7    3. I am, ironically, a member of the Governor’s political party. However, I strongly disagree
8      with his actions in this public safety scenario, as well as his efforts to use the legal system to
9      restrain normal Presidential decisions– even though I do not agree with everything the
10     President is doing. The Governor is speaking on television about a struggle for Democracy,
11     but I simply disagree with his actions in refusing to uphold the law in this democracy. To
12     that end, I formed a small unincorporated association called the Blue Eagle Coalition to try
13     to rein in the Governor’s ambitions and restore a sense of law and order to the party.
14   4. The Blue Eagle Coalition consists of myself and, as of this writing, a small handful of fellow
15     attorneys in California who share my views. For obvious reasons, such as the controversial
16     nature of this proceeding, no one else wants to be identified at this time. The short time
17     frame and rapidly developing situations stemming from this action have also made it difficult
18     to sign up participants on short notice, though this is expected to change as more moderate
19     individuals look deeper into the Governor’s actions and decide to participate.
20   5. In any case, on June 10, 2025, I reached out to both sets of counsel in this matter via email
21     to inquire about whether they would agree to the filing of an amicus brief, and I outlined the
22     main points. A copy of the message is attached as Exhibit 1.
23   6. Defendants’ counsel replied shortly thereafter and stated that Defendants consent to the
24     filing. A copy of the message is attached as Exhibit 2.
25   7. Plaintiffs’ counsel replied and stated that Plaintiffs “take no position” on the filing. A copy of
26     the message is attached as Exhibit 3. As such, I prepared an ex parte application for leave
27     to file the amicus brief.
28   8. The concerns I stated in the email to counsel are the actual concerns of my group and myself.


                                                    -2-          DECLARATION OF ANDREW WATTERS
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1       As a California-admitted attorney and also a member of the bar of this Court, I have grave
2       concerns about Plaintiffs’ counsel’s conduct in overtly challenging the President on a matter
3       that is clearly within his authority. In particular, the omission of the statute 10 U.S.C. sec.
4       252, which is obvious in any online search in this field, concerns me because the conditions
5       stated in that statute were stated in the President’s memorandum– which the Complaint
6       concedes contained language finding a “rebellion.” And of course, the case law (not disclosed
7       by Plaintiffs) makes it clear that the President is the sole judge of whether to call up the
8       National Guard for federal service, making it a discretionary function.
9     9. I don’t think it is fair for a government attorney to escape liability under Rule 11 or the
10      California ethical rules and statutes solely because they are following the orders of the
11      Governor. I am aware of numerous cases in which civilian attorneys have been warned,
12      reproved, or otherwise disciplined for far less serious things than acting contrary to the
13      attorney Oath and contrary to Federal law. Thus, in the event this matter proceeds, I foresee
14      a double standard that will substantially impact me and other attorneys.
15   10. I have noticed an interesting issue with the media coverage and social media content as they
16      relate to the rioting. The algorithms on Instagram and Facebook appear to be suppressing
17      primary source images and videos of the riots and violence. X/Twitter is the only place I
18      have seen the actual violent images and videos that users are posting, such as these:
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                                                    -3-          DECLARATION OF ANDREW WATTERS
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25   11. Obviously, these are not peaceful protests when people are destroying cars, attacking law

26      enforcement, and looting.

27   12. In addition to being personally interested in the outcome of this matter for the above

28      reasons, I am also a part-time resident of Los Angeles County due to family obligations.

        //
                                                   -4-          DECLARATION OF ANDREW WATTERS
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1        Although not downtown, my family’s area of L.A. County is policed by the Los Angeles
2        County Sheriff. There has been a noticeable decrease in the law enforcement presence in my
3        area since the rioting started, because the Sheriff’s deputies are being pulled to downtown to
4        help with the riots. As such, there is a danger to the public that more crimes will be
5        committed in areas where a large percentage of Sheriff’s deputies are pulled from. This is one
6        reason why I support the Defendants– because the deployment of the National Guard helps
7        preserve law enforcement in other areas by taking some of the burden off law enforcement.
8    13. I attach the proposed amicus brief as Exhibit 4, which will be filed in the event the
9        application is granted. I have not signed the brief only because there could conceivably be
10       developments between now and the filing that would require some revisions, in the event
11       there is some lag time between the application being made and decided. I thank the Court
12       for its consideration, and I certainly appreciate Defendants having consented.
13   I declare under penalty of perjury under the laws of the State of California that the foregoing is
14   true and correct.
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16   Date:    June 11, 2025                  By:
                                                           Andrew G. Watters, Esq.
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                                                           Attorney for Amicus Curiae
18                                                         Blue Eagle Coalition

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